         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 1 of 17




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                      DEFENDANT’S MOTION TO COMPEL
                 MEADOWS & SCAVINO DECLINATION DISCOVERY

       Defendant Stephen K. Bannon, through his undersigned counsel, respectfully moves this

Court for an Order compelling the Government to comply with its obligations and provide

discovery as identified herein. The discovery sought is material to the preparation of Mr. Bannon’s

defense, falls within the Court’s earlier oral Order directing production from the Government, and

is believed to constitute Brady/Giglio material.      Mr. Bannon expressly has requested the

production of the material at issue and Government counsel has refused to provide it. This

motion’s focus on the specific material at issue should not in any way be deemed a withdrawal or

waiver of the requests made in the earlier filed motion to compel [Docs. 28 & 33]. That motion to

compel is incorporated herein by reference.

                                     Relevant Background

       Recent media reports have indicated that, following the receipt of a criminal contempt

referral from the House of Representatives for Mark Meadows and Dan Scavino for their purported

refusal to comply with a subpoena from the January 6th Committee, the Department of Justice




                                                1
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 2 of 17




formally declined to bring criminal charges against either man.1 January 6th Committee members

have questioned the decision, indicating that they do not understand there to be a material

distinction, based on the relevant Office of Legal Counsel opinions, between these individuals and

Mr. Bannon. – who faces criminal charges.2

       In light of those reports, on June 21, 2022, the undersigned wrote to the prosecutors in this

case and requested a copy of the declination letters regarding Messrs. Meadows and Scavino, along

with related materials on the decision concerning whether or not to prosecute Meadows or Scavino,

both of whom relied on the invocation of executive privilege by former President Trump for their

non-compliance with the subpoena issued to them [Exhibit 1].             Later on June 21, 2022,

Government counsel wrote back advising that they have already “exceed(ed) (their) obligations

under the various discovery rules and doctrines” and would not provide the requested materials

[Exhibit 2]. This motion follows the Government’s refusal to provide the requested materials and

information.

Apparently, the New York Times has been provided with a copy of the declination letters and,

based on their reporting on the matter, it might well be that the letters reflecting the decision not

to prosecute either Mr. Meadows or Mr. Scavino were summary notices, without much, if any

analysis provided.3 However, even if that were the case, Mr. Bannon respectfully submits that



1
 U.S. DOJ Declines to Charge Ex-Trump Officials Meadows and Scavino, NY Times Reports,
Reuters, June 3, 2022, https://www.usnews.com/news/top-news/articles/2022-06-03/u-s-doj-
declines-to-charge-ex-trump-officials-meadows-and-scavino-ny-times-reports.

2
 Jacob Knutson, Jan. 6 committee questions “puzzling” DOJ decision on top Trump aides,
Axios, June 4, 2022, https://www.axios.com/2022/06/04/doj-declines-indict-meadows-scavino-
jan-6-probe.
3
 Alan Feuer and Luke Broadwater, Navarro Indicted as Justice Dept. Opts Not to Charge
Meadows and Scavino, https://www.nytimes.com/2022/06/03/us/politics/peter-navarro-
contempt-jan-6.html?partner=slack&smid=sl-share
                                                 2
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 3 of 17




these materials (and related documents) are discoverable, both under the Court’s oral Order of

March 16, 2022, on the original Motion to compel and as Brady/Giglio materials.

           All Meadows & Scavino Declination Materials Constitute The Official
    Position Of DOJ And Must Be Produced Under This Court’s March 16, 2022 Order.

        On March 16, 2022, the Court’s oral Order on Mr. Bannon’s Motion to Compel provided,

in pertinent part, the following:

       Specifically, I will grant defendant’s motion to the extent it requests statements or
       writings reflecting official DOJ policy, such as an opinion of the Office of Legal Counsel
       or the position of an entire division or litigating group, whether those statements are
       public or not, if such writings relate to the department’s policy on prosecuting or not
       prosecuting government or former government officials raising executive privilege
       claims or defenses of immunity or similar issues.

Hearing Tr. March 16, 2022, at 96 – 97.

       The Meadows and Scavino declination letters and related materials fall squarely within the

Court’s Order requiring production by the Government of the specified kinds of materials.4 Both

men were government officials or former government officials, executive privilege was invoked

by former President Trump, through his counsel, Justin Clark, in the same manner, form, and

language as it was invoked for Mr. Bannon5 [Compare Exhibit 3 with Doc. 35-6],6 and the



4
 The material also must independently be produced under Rule 16(a)(1)(E)(i) of the Federal
Rules of Criminal Procedure. It is unquestionably “material to preparing the defense” in this
case.

5
  The letters from Justin Clark, invoking executive privilege on behalf of former President
Trump are attached hereto as consolidated Exhibit 3.

6
 Since executive privilege was invoked in the same manner and by the same person on behalf of
President Trump, the production of the DOJ materials declining to prosecute Meadows and
Scavino is independently relevant to a threshold issue the Court raised during the June 15, 2022
hearing. The Court apparently is treating it as an open question as to whether executive privilege
even was actually invoked as to Mr. Bannon’s subpoena [See, e.g., June 15, 2022, Tr. at 125].

Mr. Bannon respectfully submits that there should be no question about the invocation on this
record; but since the Court has raised it, it is independently relevant whether the decision not to
                                                  3
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 4 of 17




materials sought through this motion to compel are official writings from the Department of Justice

concerning prosecution or non-prosecution decisions when executive privilege has been invoked.

The materials must be provided under the Court’s March 16, 2022, Order.

                   The Meadows & Scavino Materials Must Independently
                    Be Produced Pursuant To Brady/Giglio Obligations.

       As the Court is aware, a fundamental feature of Mr. Bannon’s defense theory is that he is

entitled to the defense of entrapment by estoppel, based on his reliance on multiple OLC opinions

and other official, authoritative Department of Justice/Executive Branch writings, read

independently and in pari materia, which he reasonably believed (consistent with his experienced




prosecute Meadows and Scavino was based even in part on the invocation of executive privilege.
To the extent the Court notes that “particular documents” were not specified [June 15, 2022
Hearing Tr. at 125], the Court appears to have ignored the assertion that the invocation, by
necessity, for Bannon, Meadows, and Scavino, was at least in part a “protective assertion” as
advised by the Office of Legal Counsel in such a circumstance. See ECF# 73 at notes 7 and 9
and OLC opinions and other authority cited therein. The Court also appears to have ignored the
well-settled principle that separation of powers concerns associated with executive
confidentiality issues attach even before executive privilege is invoked. Cheney v. U.S. Dist. Ct.,
542 U.S. 367, 390 (2004). In the instant case, former President Trump publicly announced his
intention to invoke executive privilege with respect to the Committee’s subpoenas in no
uncertain terms. https://apnews.com/article/donald-trump-congress-subpoenas-capitol-siege-
4eb9ffd1e94550219f5acab9e3d3b162

The Court’s June 15, 2022 oral Order also appears to ignore Mr. Bannon’s argument that for his
entrapment by estoppel defense, it does not matter at all whether executive privilege was
properly invoked; rather it is what he reasonably believed [ECF# 73 at note 9]. The DOJ
declination papers for Meadows and Scavino are directly relevant to the reasonableness of Mr.
Bannon’s belief if based in any part on the invocation of executive privilege.

Finally, on this question, the Court’s oral Order of June 15, 2022, appears to indicate a view by
the Court that Justin Clark’s view on the question of “immunity” is either relevant or somehow
undercuts the invocation of executive privilege. It certainly is not relevant – immunity, unlike,
executive privilege is not a legal concept for the President to invoke or confer and his view on
“immunity” is of no consequence at all on the question of whether executive privilege was
invoked. It was.


                                                 4
          Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 5 of 17




criminal defense lawyer’s firmly expressed belief – See, United States v. Tallmadge, 829 F.2d 767,

775 (9th Cir. 1987) - authorized/licensed the course of action he took with respect to the subpoena.7

         In support of one of his defenses, Mr. Bannon has, of course, asserted that based on the

clearly expressed and repeatedly reiterated rationale for the positions taken in the relevant OLC

opinions, that there is no legally relevant basis for distinguishing between current and former

executive branch officials on the one hand and “private citizens” (in this case a former top, close

advisor to the President) on the other hand, with respect to the rights, duties, and obligations

concerning a Congressional committee subpoena directed toward testimony and documents that

arose or were developed while the former President was President and regarding which he has

invoked executive privilege. Whether or not the Government agrees with the defense theory, the

materials at issue clearly are relevant and support the defense theory, bringing them within Brady’s

ambit.

         The clearly expressed rationale underlying each relevant OLC opinion and other

authoritative DOJ writings on the subject, going back over six decades, makes it clear that the

rights, duties, and obligations with respect to a congressional committee subpoena once executive

privilege is invoked are based on (1) constitutional separation of powers principles (the assertion




7
 This, of course, is in addition to the defense theory that the statute charged, as applied, is
unconstitutional, in that it violates the right to due process of law and other fair trial rights by not
giving fair notice of the conduct that in the circumstance at issue in this case would give rise to
criminal liability, in light of the relevant official DOJ writings and that it includes lawful,
authorized conduct within its ambit, without fair notice. [Doc. 58 at 38-48; Doc. 73 at 20-24]. It
is also in addition to Mr. Bannon’s argument that the subpoena was invalid and unconstitutional
based on the Committee’s refusal to allow the privilege holder’s representative to attend any
deposition and that he reasonably believed that to be the case under the relevant OLC opinions.
[Doc. 58 at 18 n.22 & 27; Doc. 58 at 14].


                                                   5
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 6 of 17




of executive privilege is the sole prerogative of the President/former President);8 (2) the unique

status and sanctity of executive privilege;9 (3) the imperative interest in encouraging, and not

chilling the willingness of people (including current and former executive branch officials and

outside consultants never employed by the executive branch) to discuss important, sensitive issues

with the President, confident that the discussions will remain privileged and confidential;10 (4) the

unfairness of subjecting to sanctions a subpoenaed witness who acts with respect to the subpoena

in a manner that respects the invocation of executive privilege and assists the President/former




8
 See, e.g. Olson O.L.C. Opinion of May 30, 1984, tracking the legislative history of 2 U.S.C.
§192 and concluding: “… (1) the legislative history of the contempt of Congress statute
demonstrates that it was not intended to apply to Presidential assertions of executive privilege;
and (2) if the statute were construed to apply to Presidential assertions of executive privilege, it
would so inhibit the President’s ability to make such claims as to violate the separation of
powers.” [Doc. 58-10 at 129 (pdf page 30 of 43)]. “The President’s constitutional role as head
of one of three separate branches of government means that special care must be taken to
construe statutes so as not to conflict with his ability to carry out his constitutional
responsibilities. Id. at 129 (pdf 35 of 43).

9
 “… [A]s the Supreme Court has recognized, the capacity to protect the confidentiality of some
information is integral to the constitutional role of the President. For these reasons, the Supreme
Court has ruled that the President’s assertion of executive privilege is presumptively valid and
can be overcome only by a showing that another branch cannot responsibly carry out its assigned
constitutional function without the privileged information.” [Doc. 58-10 at 135 (pdf page 36 of
43)] (emphasis in original). “…[I]nformation subject to executive privilege deserves ‘the
greatest protection consistent with the fair administration of justice.’” Trump v. Mazars USA,
LLP, 140 S. Ct. 2019, 2032, 207 L. ed. 2d 951, 966 (2020), quoting from United States v. Nixon,
418 U.S. 683, 715 (1974).

10
  Long before the establishment of the Executive office of the President, the President sought
and received advice from outside parties as a regular matter and such discussions were, of
course, understood to be confidential. See Congressional Oversight of the White House, 45 Op.
O.L.C. at 5; Doc. 58-7 at 5, pdf page 6 of 60. See also, Olson OLC opinion, Doc. 58-10 at 135-
136, pdf pages 36-37 of 43 regarding the impairment of the President’s ability to get advisors to
come forward if their communications would not be protected from Congession subpoena or
criminal contempt of Congress prosecution.
                                                  6
            Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 7 of 17




President;11 and (5) the recognized inappropriateness of using the criminal contempt statute to

resolve document disputes.12

          Not one of these clearly expressed rationales applies with any less force to the “private

citizen” whose confidential counsel the President seeks while in office and there is no reasonable

or rationale basis for drawing a legal distinction based on the status of the witness vis a vis the

rights, duties, and obligation with respect to a congressional committee subpoena, once executive

privilege has been invoked, when one considers the clearly expressed rationale. 13



11
     “Application
                of the criminal contempt statute to Presidential assertions of executive privilege
would immeasurably burden the President’s ability to assert the privilege and to carry out his
constitutional functions. If the statute were construed to apply to Presidential assertions of
privilege, the President would be in the untenable position of having to place a subordinate at the
risk of a criminal conviction and possible jail sentence in order for the President to exercise a
responsibility that he found necessary to the performance of his constitutional duty.” Olson OLC
Opinion of May 30, 1984 at 136 [Doc. 58-10 at 136 (pdf page 37 of 43)]. “The most potent
effect of the potential application of criminal sanctions would be to deter the President from
asserting executive privilege and to make it difficult for him to enlist the aid of his subordinates
in the process.” “… it would be inconsistent with the constitutional principles that underlie
executive privilege to impose a criminal prosecution and criminal penalties on the President’s
exercise of a presumptively valid constitutional responsibility.” Id. at 137-138 [Doc. 58-10 at
137-138 (pdf pages 38-39 of 43)].

12
  “Congress itself has previously recognized the impropriety of resolving executive privilege
disputes in the context of criminal contempt proceedings… The United States Court of Appeals
for the District of Columbia Circuit has stated on several occasions that criminal contempt
proceedings are an inappropriate means for resolving document disputes, especially when they
involve another governmental entity….” Olson OLC Opinion of May 30, 1984. [Doc. 58-10 at
133 (pdf page 34 of 43)].

13
  Moreover, this is expressly addressed by the Office of Legal Counsel: “That the
communications involve individuals outside the Executive Branch does not undermine the
President’s confidentiality interests.” Assertion of Executive Privilege Concerning Dismissal of
U.S. Attorneys, (June 27, 2007) [Doc. 58-7 at 6, pdf page 7 of 10]. The OLC expressly
concluded that such communications with outside consultants “retain their confidential and
Executive Branch character and remain protected.” [Id.]. The OLC further asserted that the
communications with these outside consultants is subject to the same level of immunity as
current Executive Branch officials, such that a congressional committee can only get access to
privileged communications between White House officials and “individuals outside the
Executive Branch” if the Committee establishes a “demonstrably critical” need in order to fulfill
                                                  7
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 8 of 17




       Even more to the point here, it is perfectly reasonable for a person in Mr. Bannon’s situation

who reads the OLC opinions and the rationale expressed in all of them, together with OLC opinions

and other official Executive Branch writings which clearly provide that executive privilege can

and will be invoked in full force with respect to discussions between the President and people

never employed at all by the Executive Branch (“private citizens”),14 to have believed that the

OLC opinions and other authoritative DOJ/Executive Branch writings authorized his conduct with

respect to the subpoena underlying this case.

       This is even more true in light of the additional OLC opinion he relied on that provided

that when executive privilege is invoked and the committee refuses to allow the privilege holder

to attend any taking of testimony, the subpoena is invalid and unconstitutional and can be

disregarded altogether,15 along with his experienced attorney’s belief, unequivocally expressed to


its functions. “Absent such a showing, the Committees may not override an executive privilege
claim (as to communications with individuals outside of the Executive Branch)” [Id.] Of course,
no such showing was ever even attempted by the January 6th Committee in regard to Mr.
Bannon.

14
  Multiple OLC Opinions cited by Mr. Bannon expressly provide that these protections
that flow from the invocation of executive privilege apply in full force to former executive
branch employees and to outside consultants with whom the President communicated, all of
whom are at that point “private citizens.” [See, e.g., citations at Doc. 30 at 18; Doc. 58 at 17-18,
n. 20; Doc. 58-8].

In addition, White House counsel has made it clear that the Executive Branch views executive
privilege to apply in full force to such communications and is not in any way limited to actual
Executive Branch employees or former employees. See, e.g., consolidated Exhibit 4 hereto,
letters from White House counsel, invoking executive privilege with respect to congressional
committee subpoenas for two people never formally employed by the Executive Branch. They
further support the reasonableness of Mr. Bannon’s belief that his communications were covered
by executive privilege.

15
  Congressional Oversight of The White House, [Doc. 58-7 at 55-56 (pdf pages 56-57 of 60)]
(“subpoenas requiring White House personnel to testify without agency counsel are therefore
without legal effect and may not constitutionally be enforced, civilly or criminally, against their
recipients”); Attempted Exclusion of Agency Counsel from Congressional Depositions of Agency
Employees, 2019 WL 2563045 (O.L.C.) at *1, *13-*14 (May 23, 2019) (“Congressional
                                                  8
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 9 of 17




him that the course of action he took with respect to the subpoena was the authorized, correct, and

only appropriate one he could take, given the invocation of executive privilege [ECF# 30-1,

Costello Declaration].

       One must completely ignore the rationale behind all of the relevant OLC opinions,

including those which deal with the question in the context of current or former Executive Branch

employees as well as those authoritative writings that hold that executive privilege can be invoked

in full force as to outside “private citizens” to conclude that Mr. Bannon’s belief that the OLC

opinions applied to him was unreasonable. And by definition, if one were to ignore the rationale

behind the decades of relevant OLC opinions and focus instead on the employment status of the

subpoenaed witness for whom the President (or former President invoked executive privilege), one

would similarly have to conclude that executive privilege would provide no protection to Henry

Kissinger if he were consulted by the President on the Ukraine situation or the Exxon CEO on the

economy, with the expectation that such communications would be privileged and confidential.

That would be an absurd, illogical, and completely unsupportable conclusion. Every concern

underlying each rationale for the relevant OLC opinions and other relevant authoritative DOJ

writing on this subject applies with equal force to the communications with outside consultants so

situated, including Mr. Bannon for which executive privilege is invoked.

       The materials at issue here, therefore, concerning Messrs. Meadows and Scavino and the

evaluation and decision not to prosecute them, are directly relevant to the defense theory and,

whether or not the government agrees with that defense theory or the Court bars Mr. Bannon from

putting it forward in this case through direct evidence, cross-examination, argument, and jury




subpoenas that purport to require agency employees to appear without agency counsel are legally
invalid and are not subject to civil or criminal enforcement.”).
                                                9
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 10 of 17




instructions, he is entitled to make a record in all regards and certainly with respect to evidence of

the materials sought here, in which the non-prosecution decision is consistent with his theory of

defense and therefore exculpatory and/or where the Government has made an arbitrary non-

prosecution decision based on criteria Mr. Bannon believes to be legally irrelevant (e.g.

current/former Executive Branch employment status vs. former top advisor consulted by the

President when no longer employed by the Executive Branch).

       Mr. Meadows, in his civil case, has made legal arguments that parallel those raised by Mr.

Bannon in submissions before this Court – as to the deficiencies regarding the Committee’s

composition and its Rules violation,16 as well as to the inapplicability of the criminal contempt



16
  This provides an additional basis for compelling the production of all papers related to the
decision to decline prosecuting Meadows and Scavino. Indeed, the Court expressly noted
throughout its June 15, 2022 oral Order the similarities in all matters related to the Committee
and its composition and contempt referral across the board for Messrs. Bannon, Meadows, and
Scavino [June 15, 2022 Tr. at 114-118]. Accordingly, if the decision to not prosecute Meadows
and Scavino was in any part based on a Rules issue, it certainly would be Brady material vis a vis
Mr. Bannon’s defense theory. Mr. Bannon would note here that, notwithstanding the Court’s
repeated statement that the Court was joining Judge Kelly’s recent decision on the Rules
questions, to accept the notion that it is incumbent on the Court to defer to Congress on its Rules
interpretations and applications, and specifically, to defer on the matter of finding that
Representative Liz Cheney serves in the role intended for a ranking minority member [June 15,
2022 Tr. at 117], with all due respect, Judge Kelly did not have before him evidence that House
Counsel Letter expressly told the FBI that there is no ranking minority member on the
Committee [ECF# 58-4 at 5] nor did he have before him Committee Chairman Thompson’s
express statement that Representative Liz Cheney is not the ranking member.
https://www.cnn.com/2021/07/27/politics/thompson-statement-072721/index.html This begs the
question as to whose view in Congress exactly the Court was deferring on this question.

Moreover, Mr. Bannon respectfully submits and preserves his position, that this Court’s decision
was inappropriately overly deferential with respect to the Rules issues under the authority of
Christoffel v. United States, 338 U.S. 84, 88-90 (1949) (holding that the validity of a
congressional subpoena turned on judicial determination of “what rules the House has
established and whether they have been followed”); United States v. Smith, 286 U.S. 6, 33
(1932); United States v. Ballin, 144 U.S. 1 (1892); Yellin v. United States, 374 U.S. 109 (1963).
The Court’s view of the degree of deference to be accorded is difficult to reconcile with these
decisions.


                                                 10
        Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 11 of 17




statute when executive privilege has been invoked and the applicability of the OLC opinions [Doc.

## 29-1 through 29-5; 38 in Meadows v. Pelosi, 1:21-cv-03217-CJN; Exhibit 5].             Moreover,

executive privilege was invoked with respect to these two men in the exact same manner as it was

for Mr. Bannon [ECF# 29-5 in Meadows v. Pelosi; Exhibit 3] and just as in the instant case, it was

the witness’s lawyer who conveyed former President Trump’s invocation of Executive Privilege

to the Committee [ECF# 29-4 in Meadows v. Pelosi; Exhibit 3].17 Mr. Bannon is entitled to know

the basis for the DOJ’s decision not to prosecute either man.18



17
  Notwithstanding the similar role played by counsel in the Meadows and Scavino cases with
respect to the invocation of Executive Privilege and interaction with the Committee on behalf of
the witness, Mr. Bannon is not aware of any action taken by the Government to obtain the email
and telephone records of either attorney representing Mr. Meadows or Mr. Scavino. As part of
this motion to compel, given the similarities with respect to the interaction and the invocation of
Executive Privilege, Mr. Bannon would respectfully ask the Court to compel Government
counsel to advise whether any such steps were taken vis a vis those attorneys.

18
  On June 23, 2022, this Court entered a Minute Order in Meadows v. Pelosi, 21-cv-03217-CJN
seeking to ascertain whether it is the DOJ’s position that based on relevant OLC opinions, the
DOJ deems Mr. Meadows to have immunity following the invocation of executive privilege.
The Court’s Minute Order provides as follows:

       MINUTE ORDER. Upon consideration of the record of this case, the Court notes
       that Plaintiff's arguments rely, in part, on certain opinions of the Office of Legal
       Counsel, including, e.g., Prosecution for Contempt of Congress of an Executive
       Branch Official Who Has Asserted a Claim of Executive Privilege, 8 Op. O.L.C.
       101 (1984); Immunity of the Assistant to the President and Director of the Office
       of Political Strategy and Outreach from Congressional Subpoena, 38 Op. O.L.C.
       *5 (July 15, 2014); Assertion of Executive Privilege With Respect to Clemency
       Decision, 23 Op. O.L.C. 1 (1999); Immunity of the Former Counsel to the
       President From Compelled Congressional Testimony, 31 Op. O.L.C. 191, 192
       (2007); Immunity of the Assistant to the President and Director of the Office of
       Political Strategy and Outreach from Congressional Subpoena, 38 Op. O.L.C. at
       *5 (July 15, 2014); and Testimonial Immunity Before Congress of the Former
       Counsel to the President, 43 Op. O.L.C. __ (May 20, 2019). The Court therefore
       INVITES the United States Department of Justice to submit a statement of
       interest, pursuant to 28 U.S.C. § 517, addressing its view as to whether Plaintiff is
       entitled to absolute or qualified testimonial immunity from the subpoena at issue
       in this case. It is ORDERED that any such statement, if submitted, should be filed
       no later than July 15, 2022. If such a statement of interest is filed, the parties may
                                                 11
        Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 12 of 17




                                           LEGAL ARGUMENT

       The D.C. Circuit has emphasized that the prosecution must disclose evidence which is

material “to the preparation of the defendant’s defense.” United States v. Marshall, 132 F.3d 63,

67 (D.C. Cir. 1998) (emphasis in original). The government must disclose both inculpatory and

exculpatory evidence. Id. “Inculpatory evidence, after all, is just as likely to assist in ‘the

preparation of the defendant’s defense’ as exculpatory evidence” because “it is just as important

to the preparation of a defense to know its potential pitfalls as to know its strengths.” Marshall,

132 F.3d at 67; accord United States v. O’Keefe, No. 06-0249 (PLF), 2007 WL 1239204, at *2

(Apr. 27, 2007).

       The discovery obligations of Rule 16 are “intended to provide a criminal defendant ‘the

widest possible opportunity to inspect and receive such materials in the possession of the

Government as may aid him in presenting his side of the case.’” O’Keefe, 2007 WL 1239204, at

*2 (quoting United States v. Poindexter, 727 F. Supp. 1470, 1473 (D.D.C. 1989)); see also United

States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993) (materiality standard “is not a heavy burden”

– information is material and must be disclosed if it has the potential to play an “important role in

uncovering admissible evidence, aiding witness preparation, corroborating testimony, or assisting

impeachment or rebuttal”); United States v. George, 786 F. Supp. 11, 13 (D.D.C. 1991) (discovery

materiality hurdle “is not a high one”).




       file responses on or before July 29, 2022. Signed by Judge Carl J. Nichols on June
       23, 2022. (lccjn1) (Entered: 06/23/2022).

        Even though Mr. Bannon’s defense is not dependent on a finding that he has “immunity;”
he is entitled to know the answer to the Court’s inquiry, again, given the rationale in the OLC
opinions for finding “immunity” with respect to a Congressional subpoena when executive
privilege has been invoked.
                                                 12
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 13 of 17




       “As a general matter, Rule 16 establishes the minimum amount of discovery to which the

parties are entitled. It is not intended to limit the judge’s discretion to order broader discovery in

appropriate cases.” United States v. Apodaca, 287 F. Supp. 3d 21, 39 (D.D.C. 2017); see also

United States v. Karake, 281 F. Supp. 2d 302, 306 (D.D.C. 2003) Moreover, “the government

cannot take a narrow reading of the term material in making its decisions on what to disclose under

Rule 16.” O’Keefe, supra, 2007 WL 1239204, at *2.

       Government disclosure of exculpatory and impeachment evidence is essential to the

constitutional guarantee to a fair trial. See Brady v. Maryland, 373 U.S. 83, 87 (1963); Giglio v.

United States, 405 U.S. 150, 154 (1972). The law requires the disclosure of exculpatory and

impeachment evidence when such evidence is material to guilt or punishment. Brady, 373 U.S. at

87; Giglio, 405 U.S. at 154. Because Brady and Giglio are constitutional obligations, Brady/Giglio

evidence must be disclosed regardless of whether the defendant makes a request for the

information. See Kyles v. Whitley, 514 U.S. 419, 432-33 (1995). Since it is sometimes difficult to

assess the materiality of evidence before trial, prosecutors must err on the side of disclosure. Kyles,

514 U.S. at 439.

       The Department of Justice (“DOJ”) Manual, § 9-5.001, provides as follows:

       Disclosure of exculpatory and impeachment information beyond that which is
       constitutionally and legally required. Department policy recognizes that a fair trial will
       often include examination of relevant exculpatory or impeachment information that is
       significantly probative of the issues before the court but that may not, on its own, result in
       an acquittal or, as is often colloquially expressed, make the difference between guilt and
       innocence. As a result, this policy requires disclosure by prosecutors of information beyond
       that which is ‘material’ to guilt as articulated in Kyles v. Whitley, 514 U.S. 419 (1995),
       and Strickler v. Greene, 527 U.S. 263, 280-81 (1999). The policy recognizes, however, that
       a trial should not involve the consideration of information which is irrelevant or not
       significantly probative of the issues before the court and should not involve spurious issues
       or arguments which serve to divert the trial process from examining the genuine issues.
       Information that goes only to such matters does not advance the purpose of a trial and thus
       is13ubjectt to disclosure.



                                                  13
         Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 14 of 17




        Additional exculpatory information that must be disclosed. A prosecutor must disclose
        information that is inconsistent with any element of any crime charged against the
        defendant or that establishes a recognized affirmative defense, regardless of whether the
        prosecutor believes such information will make the difference between conviction and
        acquittal of the defendant for a charged crime.

        Additional impeachment information that must be disclosed. A prosecutor must
        disclose information that either casts a substantial doubt upon the accuracy of any evidence
        — including but not limited to witness testimony — the prosecutor intends to rely on to
        prove an element of any crime charged, or might have a significant bearing on the
        admissibility of prosecution evidence. This information must be disclosed regardless of
        whether it is likely to make the difference between conviction and acquittal of the defendant
        for a charged crime.

        Information. Unlike the requirements of Brady and its progeny, which focus on evidence,
        the disclosure requirement of this section applies to information regardless of whether the
        information subject to disclosure would itself constitute admissible evidence.

        Cumulative impact of items of information. While items of information viewed in
        isolation may not reasonably be seen as meeting the standards outlined in paragraphs 1 and
        2 above, several items together can have such an effect. If this is the case, all such items
        must be disclosed.

DOJ      Manual,       https://www.justice.gov/jm/jm-9-5000-issues-related-trials-and-other-court-

proceedings (last visited on Feb. 4, 2022) (emphasis in original).

        To ensure that prosecutors adhere to their discovery obligations, the United States District

Court for the District of Columbia Local Rules of Criminal Procedure specify the types of

information that must be disclosed. The rules provide, in pertinent part, that the Government must

disclose to the defense:


        (1) Information that is inconsistent with or tends to negate the defendant’s guilt as to any
        element, including identification, of the offense(s) with which the defendant is charged;

        (2) Information that tends to mitigate the charged offense(s) or reduce the potential penalty;

        (3) Information that tends to establish an articulated and legally cognizable defense theory or
        recognized affirmative defense to the offense(s) with which the defendant is charged;

        (4) Information that casts doubt on the credibility or accuracy of any evidence, including
        witness testimony, the government anticipates using in its case-in-chief at trial; and


                                                  14
        Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 15 of 17




       (5) Impeachment information, which includes but is not limited to: (i) information regarding
       whether any promise, reward, or inducement has been given by the government to any witness
       it anticipates calling in its case-in-chief; and (ii) information that identifies all pending criminal
       cases against, and all criminal convictions of, any such witness.


Local Rule Crim. P. 5.1(b).

       Based on the foregoing, Mr. Bannon respectfully submits that the Court grant this motion

and order the Government to produce the requested materials.



Dated: June 27, 2022                             Respectfully submitted,

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                                                 Counsel for Defendant Stephen K. Bannon

                                                    15
       Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 16 of 17




                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 27th day of June, 2022, a copy of the foregoing

DEFENDANT’S MOTION TO COMPEL MEADOWS & SCAVINO DECLINATION

DISCOVERY was served via the Court’s CM/ECF system on registered parties and counsel.


                                            /s/ M. Evan Corcoran
                                         M. Evan Corcoran (D.C. Bar No. 440027)




                                           16
          Case 1:21-cr-00670-CJN Document 86 Filed 06/27/22 Page 17 of 17




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:
                                       ORDER

         Upon consideration, it is hereby ORDERED that Defendant’s Motion To Compel

Discovery Of Meadows & Scavino Declination Materials is GRANTED. All requested materials

shall be produced to the defense on or before ______.

         SO ODERED.

                                                   ___________________________________
                                                   Hon. Carl J. Nichols
                                                   United States District Judge
Dated:




                                              17
